                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

 UNITED STATES OF AMERICA,                     )
                                               )
              Plaintiff,                       )
                                               )
 v.                                            )      No.:   3:13-CR-106-TAV-CCS
                                               )
 DANIEL CASIMIR VASQUEZ,                       )
                                               )
              Defendant.                       )


                      MEMORANDUM OPINION AND ORDER

       This criminal case is before the Court on the defendant’s pro se motion for a

 sentence reduction [Doc. 243]. In the defendant’s motion, the defendant requests that the

 Court resentence him pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with

 Amendment 782 and Amendment 788 to the United States Sentencing Guidelines

 Manual. The government has responded [Doc. 249]. The government asserts that the

 defendant is not eligible for relief because his plea agreement contained a Rule

 11(c)(1)(C) provision that did not explicitly link the agreed-upon sentence to any

 guideline range, and, even if not, his current sentence is below what his amended

 guideline range would be.

 I.    Standard of Review

       “Federal courts are forbidden, as a general matter, to modify a term of

 imprisonment once it has been imposed, but the rule of finality is subject to a few narrow




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 exceptions.” Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation

 and quotation marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):

       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission . . . , the court may reduce the term
       of imprisonment, after considering the factors set forth in section 3553(a) to
       the extent that they are applicable, if such a reduction is consistent with
       applicable policy statements issued by the Sentencing Commission.

 The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

 requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced

 to a term of imprisonment based on a sentencing range that has subsequently been

 lowered by the Sentencing Commission[.]” United States v. Riley, 726 F.3d 756, 758

 (6th Cir. 2013) (internal quotation marks and citation omitted). Second, “such reduction

 [must be] consistent with applicable policy statements issued by the Sentencing

 Commission.” Id. (internal quotation marks omitted). If the reviewing court determines

 that the defendant is eligible for a sentence reduction, then “[t]he court may then

 ‘consider whether the authorized reduction is warranted, either in whole or in part,

 according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

 946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

       In determining whether a defendant has been sentenced to a term of imprisonment

 based on a sentencing range that has subsequently been lowered by the Sentencing

 Commission, the Court must first determine “the amended guideline range that would

 have been applicable to the defendant had the relevant amendment been in effect at the

 time of the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and
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 citation omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1). Other

 than substituting Amendment 782 for the corresponding provision applicable when the

 defendant was originally sentenced, the Court “shall leave all other guideline application

 decisions unaffected.” Id. And the Court “shall not” reduce a defendant’s term of

 imprisonment to a term “less than the minimum of the amended guideline range,” nor to a

 term “less than the term of imprisonment the defendant has already served.” Id. §

 1B1.10(b)(2)(A), (C).1 In addition to these limits, section 1B1.10 states that a court must

 also consider the § 3553 factors and the danger to the public created by any reduction in a

 defendant’s sentence. Id. at cmt. n.1(B). A court may further consider a defendant’s

 post-sentencing conduct. Id.

 II.    Analysis

        Amendment 782 to the Guidelines, which became effective on November 1, 2014,

 revised the Guidelines applicable to drug-trafficking offenses by reducing by two levels

 the offense levels assigned to the drug quantities described in section 2D1.1. U.S.

 Sentencing Guidelines Manual App. C, amend. 782.               Amendment 782 also makes

 corresponding changes to section 2D1.11. Amendment 788, which became effective on

 November 1, 2014, as well, identified Amendment 782 as retroactive. U.S. Sentencing

 Guidelines Manual App. C, amend. 788.



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          Section 1B1.10 provides one exception to the rule that a defendant may not receive a
 sentence below the amended guideline range—namely, if the defendant originally received a
 below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
 assistance to authorities.” U.S. Sentencing Guidelines § 1B1.10(b)(2)(B).
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       To be eligible for a reduced sentence under Amendment 782, the defendant’s

 agreed-upon sentence must have been “based on” a sentencing range that was

 subsequently lowered by the Sentencing Commission. United States v. Garrett, 758 F.3d

 749, 755 (6th Cir. 2014).

       In Freeman v. United States, the Supreme Court considered whether a defendant

 who was sentenced pursuant to a Federal Rule of Criminal Procedure 11(c)(1)(C) agreed-

 upon sentence or sentencing range is eligible for a sentence reduction under § 3582(c)(2).

 Justice Sotomayor’s concurrence, which controls as the narrowest concurring opinion,

 see United States v. Smith, 658 F.3d 608, 611 (6th Cir. 2011), establishes that if a Rule

 11(c)(1)(C) agreement “expressly uses a Guidelines sentencing range applicable to the

 charged offense to establish the term of imprisonment, and that range is subsequently

 lowered by the . . . Sentencing Commission, the term of imprisonment is ‘based on’ the

 range employed.” Freeman v. United States, 131 S. Ct. 2685, 2695 (2011) (Sotomayor,

 J., concurring). As a result, the defendant would be eligible for sentence reduction under

 § 3582(c)(2). Id.

       In applying Freeman, the Sixth Circuit has instructed that “we apply a basic

 syllogism: if the sentence is based on a plea agreement, and the plea agreement relies on

 a given sentencing range, then the sentence is based on that range.” Garrett, 758 F.3d at

 755. In the context of a Rule 11(c)(1)(C) plea agreement, “the district court is bound by

 that agreement if it accepts it, and the defendant’s sentence is therefore ‘based on’ that

 agreement.” Id. at 757. To determine whether that agreement is, in turn, “based on” a

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 subsequently lowered guideline range, the Court must ask whether the agreed-upon

 sentence “would likely have been different had the guideline, as amended, been in place

 at the time of sentencing.” Id. at 756 (finding that the Rule 11(c)(1)(C) plea agreement

 contained a sentencing range of which the upper bound was subsequently lowered by the

 Sentencing Commission, so the defendant’s sentence was “based on” a subsequently

 lowered guideline range).

       To summarize, “for the defendant to be eligible for a sentence reduction under §

 3582(c)(2), the agreement must ‘employ[ ] a particular Guidelines sentencing range to

 establish the term of imprisonment.’” Id. at 756 (citing Freeman, 131 S. Ct. at 2698

 (Sotomayor, J., concurring)).

       In the instant case, the defendant’s original guideline range was 168 to 210

 months’ imprisonment [Doc. 146 ¶ 72]. The defendant’s plea agreement, however,

 contained a Rule 11(c)(1)(C) agreement that a sentence of 97 months’ imprisonment was

 appropriate [Doc. 80 p. 3]. The Court subsequently sentenced the defendant to a term of

 97 months’ imprisonment, pursuant to the plea agreement [Doc. 174]. This sentence

 likely would not have been different had the amended guideline been in place at the time

 of sentencing, as the agreed-upon sentence did not employ a particular guideline range or

 drug quantity to establish the term of 97 months’ imprisonment. Garrett, 758 F.3d at

 756. Thus, the sentence was not “based on” a sentencing guideline that has since been




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 lowered.   Accordingly, the Court lacks jurisdiction under § 3582(c) to modify the

 defendant’s sentence.2

 III.   Conclusion

        For the reasons stated herein, the defendant’s motion [Doc. 243] is DENIED.

        IT IS SO ORDERED.



                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE




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          Even if the Court possessed jurisdiction under § 3582(c) to modify the defendant’s
 sentence, the defendant’s amended guideline range would be 135 to 168 months’ imprisonment.
 As the defendant was sentenced to 97 months’ imprisonment, his sentence is already below the
 range to which his sentence would be reduced pursuant to the amended Guidelines under §
 3582(c).
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